Case 4:21-cr-00268-O Document 99-3 Filed 01/07/22   Page 1 of 15 PageID 1060




                 EXHIBIT C
  Case 4:04-cr-00025 Document 1214 Filed on 04/09/07 in TXSD Page 1 of 14
Case 4:21-cr-00268-O Document 99-3 Filed 01/07/22 Page 2 of 15 PageID 1061
  Case 4:04-cr-00025 Document 1214 Filed on 04/09/07 in TXSD Page 2 of 14
Case 4:21-cr-00268-O Document 99-3 Filed 01/07/22 Page 3 of 15 PageID 1062
  Case 4:04-cr-00025 Document 1214 Filed on 04/09/07 in TXSD Page 3 of 14
Case 4:21-cr-00268-O Document 99-3 Filed 01/07/22 Page 4 of 15 PageID 1063
  Case 4:04-cr-00025 Document 1214 Filed on 04/09/07 in TXSD Page 4 of 14
Case 4:21-cr-00268-O Document 99-3 Filed 01/07/22 Page 5 of 15 PageID 1064
  Case 4:04-cr-00025 Document 1214 Filed on 04/09/07 in TXSD Page 5 of 14
Case 4:21-cr-00268-O Document 99-3 Filed 01/07/22 Page 6 of 15 PageID 1065
  Case 4:04-cr-00025 Document 1214 Filed on 04/09/07 in TXSD Page 6 of 14
Case 4:21-cr-00268-O Document 99-3 Filed 01/07/22 Page 7 of 15 PageID 1066
  Case 4:04-cr-00025 Document 1214 Filed on 04/09/07 in TXSD Page 7 of 14
Case 4:21-cr-00268-O Document 99-3 Filed 01/07/22 Page 8 of 15 PageID 1067
  Case 4:04-cr-00025 Document 1214 Filed on 04/09/07 in TXSD Page 8 of 14
Case 4:21-cr-00268-O Document 99-3 Filed 01/07/22 Page 9 of 15 PageID 1068
  Case 4:04-cr-00025 Document 1214 Filed on 04/09/07 in TXSD Page 9 of 14
Case 4:21-cr-00268-O Document 99-3 Filed 01/07/22 Page 10 of 15 PageID 1069
  Case 4:04-cr-00025 Document 1214 Filed on 04/09/07 in TXSD Page 10 of 14
Case 4:21-cr-00268-O Document 99-3 Filed 01/07/22 Page 11 of 15 PageID 1070
  Case 4:04-cr-00025 Document 1214 Filed on 04/09/07 in TXSD Page 11 of 14
Case 4:21-cr-00268-O Document 99-3 Filed 01/07/22 Page 12 of 15 PageID 1071
  Case 4:04-cr-00025 Document 1214 Filed on 04/09/07 in TXSD Page 12 of 14
Case 4:21-cr-00268-O Document 99-3 Filed 01/07/22 Page 13 of 15 PageID 1072
  Case 4:04-cr-00025 Document 1214 Filed on 04/09/07 in TXSD Page 13 of 14
Case 4:21-cr-00268-O Document 99-3 Filed 01/07/22 Page 14 of 15 PageID 1073
  Case 4:04-cr-00025 Document 1214 Filed on 04/09/07 in TXSD Page 14 of 14
Case 4:21-cr-00268-O Document 99-3 Filed 01/07/22 Page 15 of 15 PageID 1074
